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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA

                                   Case 1:19-cv-00038-WINSOR

CAPAL BEASLEY,

                Plaintiff,

v.

CENTRAL FLORIDA CONTRACTORS SERVICES, INC.,
a Florida for-profit corporation; CENTRAL FLORIDA
CONTRACTORS SERVICE, LLC., a Florida limited
liability company; and, BOBBY J. POWELL, JR.,
an individual,

            Defendants.
________________________________________________/

               PLAINTIFF’S MOTION FOR LEAVE TO FILE REPLY BRIEF

         The Plaintiff, CAPAL BEASLEY, by and through undersigned counsel, files this Motion

for Leave to File Reply Brief, and states as follows:

         This case arises under the Fair Labor Standards Act (“FLSA”). On July 2, 2019, the

Plaintiff filed a Motion to Compel Discovery from Defendant, Central Florida Contractors

Service, Inc. (“CFCS”) (DE 20). CFCS filed its Response in Opposition on July 15, 2019 (DE

22). In that Response in Opposition, CFCS argues, inter alia, that Plaintiff failed to confer

pursuant to Local Rule 3.01(g) M.D.Fla., prior to filing the subject Motion to Compel.

         Pursuant to Rule 3.01(c) M.D.Fla., the Plaintiff seeks leave of Court to file a Reply. The

limited purpose of the Reply is to explain Plaintiff’s efforts to confer via email and telephone

prior to filing the subject Motion to Compel. The Defendants oppose Plaintiff filing such a

Reply.

         WHEREFORE, the Plaintiff requests the Court permit the Plaintiff to file a Reply in

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support of the Motion to Compel (DE 20) for the limited purpose of addressing the issue of

compliance with Rule 3.01(g), and grant all other relief deemed appropriate.

                                                    Respectfully submitted,

                                                    BOBER & BOBER, P.A.
                                                    Attorneys for Plaintiff
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                                                    peter@boberlaw.com

                                                    s/. Peter Bober_____________________
                                                    PETER J. BOBER
                                                    FBN: 0122955

                       CERTIFICATE OF ATTORNEY CONFERRAL

          Pursuant to Local Rule 7.1(B) N.D.Fla., the undersigned counsel confirms that he

contacted defense counsel about filing a Reply to address the issue of whether a conferral

occurred prior to filing the subject Motion to Compel. The Defendants oppose the relief sought

herein.



                                            s/. Peter Bober____________
                                            FBN: 0122955


                                       SERVICE LIST

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